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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

DONNA CURLING, et al.,

       Plaintiffs,
                                             CIVIL ACTION
v.

BRAD RAFFENSPERGER, et al.,                  FILE NO. 1:17-cv-2989-AT

       Defendants.


      STATE DEFENDANTS’ NOTICE OF FILING REGARDING
         INVESTIGATION REPORTS AND TIMESTAMPS

      The State Defendants submit this Notice of Filing pursuant to the

Court’s request and provide three sample investigative reports related to

election security previously produced in the Fair Fight Action litigation and

timestamps from the recorded phone call between Marilyn Marks and Scott

Hall, which was filed in State Defendants’ Notice of Filing of Electronic Media,

[Doc. 1363]. State Defendants have also provided information regarding the

replacement of the Coffee County EMS requested by the Court in the

April 7, 2022 Teleconference.

      1.    Sample Investigation Reports.

      During the April 7, 2022 Teleconference, Curling Plaintiffs’ counsel

raised the issue of obtaining discovery about past investigations involving
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election security. April 7, 2022 Tr. at 24:21-26:21, [Doc. 1374]. The Court in

turn requested that State Defendants provide three sample election security

reports to understand what might be in the reports. [Doc. 1374 at Tr. 54:15-

55:23]. In accordance with the Court’s request, State Defendants have

reviewed investigative reports previously produced to the Fair Fight Action

plaintiffs and identified the following State Election Board matters pertaining

to election security issues for the Court’s review:

            (a)   SEB Number 2013-38, City of Sparta-Hancock County,

                  attached hereto as Exhibit “A”;

            (b)   SEB Number 2016-053, Union County DRE Storage,

                  attached hereto as Exhibit “B”; and

            (c)   SEB Number 2014-06, Long County-Qualifying and Board

                  of Elections & Registration, attached hereto as Exhibit “C”.

      2.    Recording of Phone Call of Scott Hall.

      Coalition Plaintiffs recently raised a discovery dispute regarding an

alleged accessing of Coffee County’s EMS server based on information in a

recording made by Marilyn Marks, Executive Director of Coalition for Good

Governance, of a phone call with Scott Hall.1 [Doc. 1360]. State Defendants


1 State Defendants understand that the Mr. Hall on the recorded phone call
is the same Mr. Hall who testified at the December 3, 2020 Hearing of the

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subsequently filed the entire audio recording of the phone call obtained from

Coalition Plaintiffs. [Doc. 1363]. The State Defendants believe the entire

recording provides necessary context of the phone call between Ms. Marks and

Mr. Hall, which is the sole basis of Coalition Plaintiffs’ claim that Coffee

County’s EMS server was accessed in some way. See [Doc. 1360].

      In response to the Court’s request, however, State Defendants identify

the following timestamps from the recording which are particularly pertinent

to understanding the context of the conversation, [Doc. 1360]:

          0:04:15 – 0:04:51

          0:06:13 – 0:14:12

          0:36:20 – 0:39:48

          0:54:00 – 1:04:38

          1:18:36 – 1:22:55

      Additionally, during the April 7, 2022 teleconference, the Court asked if

State Defendants could provide any documentation memorializing when the

Coffee County EMS was replaced by the Center for Elections Systems. [Doc.

1374 at 53:20-25]. Accordingly, attached as Exhibit “D” are documents from


Georgia State Senate Judiciary Committee Election Law Subcommittee. See
Archived Recording at 5:34:00, available at https://livestream.com/accounts/
26021522/events/8730585/videos/214364915.


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the acceptance testing conducted by the Center for Elections Systems on the

date the Coffee County EMS server was replaced, with the hash values

redacted.

     Respectfully submitted this 9th day of May 2022.

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                       L.R. 7.1(D) CERTIFICATION

      I certify that this Notice of Filing has been prepared with one of the font

and point selections approved by the Court in Local Rule 5.1(C). Specifically,

this Response has been prepared using 13-pt Century Schoolbook font.



                              /s/ Vincent R. Russo
                              Vincent R. Russo




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